                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF ALASKA

THE REYNOLDS TRUST, et al.,
          Plaintiffs,
                                                    Case Number 3:12-cv-00231-SLG
v.

BARRY NEIL DEES, JR., et al.,
          Defendants.                               JUDGMENT IN A CIVIL CASE


     JURY VERDICT. This action came before the court for a trial
by jury. The issues have been tried and the jury has rendered its
verdict.


 X   DECISION BY COURT. This action came before the court. The
issues have been duly considered and a decision has been rendered.

            IT IS ORDERED AND ADJUDGED:

        THAT the Plaintiffs recover nothing and the action is
dismissed.


APPROVED:

 S/SHARON L. GLEASON
 United States District Judge
 Date: April 10, 2013
 NOTE: Award of prejudgment interest,                      Marvel Hansbraugh
 costs and attorney's fees are governed                    Marvel Hansbraugh,
 by D.Ak. LR 54.1, 54.3, and 58.1.                           Clerk of Court




[Reynolds Trust Judgment.wpd SLG.wpd]{JMT2.WPT*Rev.3/03}




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